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8 AMER CA w/D GF entails
Plaintiff
Vs.
cR. No. 04-20254-o
soNNY sHlEl_os,
sHANNoN sHlELDS,
LENozo EARL PARKER
Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 12, 2005. At that time, counsel for
the defendant requested a continuance in order to allow for additional preparation in the
case.

The Court granted the request and reset the trial date to December 5. 2005 with a

re ort date of Frida November 18 2005 at 9:00 a.m.. in Courtroom 3. 9th Floor ofthe

 

Federa| Bullding, Memphis, TN.

The period from August 12, 2005 through December 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

n is so onoERED this%%'day of August, 2005.

   

Thla document entered on the docket sh
with Flule 55 andfor 32(b) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 213 in
case 2:04-CR-20254 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

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Honorable Bernice Donald
US DISTRICT COURT

